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The Honorab|e |. Leo G|esser

Llnited Btates Distriot dodge

Eastern District of New ‘r’ork

225 Gadman P|aza East

Broolt|yn, New Yorlt 11201

Re: Um'ted States v'. Fefix Sater
trace No. sE-CR-'.l 101 flf.G}

l'.`ieat Judge G|asser:

Please accept this as Defendant Fe|i)t Sater‘s unopposed motion to continue the
sentencing hearing currently set before ‘i"our Honor on Wed nesdayl February 0. 2005 at
10:00 arn. ns the Court may recal|. lvlr. Sater has been involved in prolonged ongoing
cooperation activities with law enforcement agents and has provided truthful and
medib|e information on a wide variety of criminal activities, some of which has already

led to criminal prosecution of others.

l have conferred with Assistant l.lnited Btates .nttorney Eric l'~'.orngo|dl who does
not oppose the relief sought herein. Current|y Mr. Sater is working with the Federai
Esureau of investigation {"FB!"], involving two long-term investigations into major
international criminal organizations Sater has traveled to a foreign country in the past
several months. along with FEll special agents in order to assist them in their
investigations in that country. Fu rther travet is expected Sater has also taped target{s]
in excess of 30 consensual recordings Further taping is ongoing and is expected to be
long terrn_

ndditional|y, l have been asked to relate to the Court that Assistant l.lnited States
Attorney Eric Komgo|d wi|l. upon his return to the Distriot. submit lo the Gourt. if
necessary1 under seal and under separate cover additional information detailing more
specifically l'vtr. Sater's ongoing cooperative efforts

Case 1:98-cr-OllOl-|LG Document 28 Filed 02/03/05 Page 2 of 2 Page|D #: 72

ili~.coording|yl we respectfulty request that the Court continue Mr. Safer's
sentencing hearing for a period of six {E} months in order to enable l'vlr. Sater to
continue his signilicant cooperative efforts

Respectfu|!y su bmitl:ed,

Fvly|es . lvlalman

N'|Hl'v'|fpg

cc: essistant L.lnitad States Attorney Wi||iam Eur|<e {S.D.N.Y.]
Assistant United States Attorney Eric Korngo|d (E.D.N.Y.}
l..lnited Btates Probation th`rcer lv'lichel|e Espinoza

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